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& AREATECHN|CAL CENTER
2501 worth mhAve. - nodgeciry,xsuso¢-zzee - (620) 225-1321 » l-aoo-FoR-nccc ' mdcs.edu

 

June 30, 2017

Lyle VanNahmen
Student ID # 605920
206 N. Main
Spearville, KS 67876

Lyle VanNahmen:

This letter is to notify you in Writing that I have reviewed your appeal related to the final
disposition and sanctions of the conduct review panel. After careful review and in
accordance With Dodge City Community College policy, I uphold the decision (vvith no
revisions) and all sanctions noted in the conduct review panel’s final disposition letter.

Sincerely,
Ryan Ausmus
Dean of Workforce Development & Title V

 

 

